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IN THE UNITED STATES DISTRICT C URT
FOR THE NORTHERN DISTRICT OF
FORT WORTH DIVISION

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UNITED STATES GF AMERICA
v. No. 4:17-1\/[]-8br
YOUSEF HENDI (01)
CRIMINAL COMPLAINT
I, the undersigned Complainant, being duly swom, state the following is true and
correct to the best of my knowledge and belief:
Between on or about September 3, 2016 and September 13, 2016, Yousef
Hendi, the defendant, knowingly received by any means, any visual depiction
using any means and facility of interstate and foreign commerce, knowing the
production of such visual depiction involves the use of a minor engaging in
sexually explicit conduct and such visual depiction is of such conduct.
Speeifically, using the Kik application and the Internet, Hendi received the

following visual depiction of a minor engaged in sexually explicit conduct:

 

File Name File Description
[redacted]87ld This file is a fifteen second video of a twelve-year-old
minor female who is nude from the waist down.
During the video, the child inserts a toothbrush into
her vagina while standing on a bathroom counter.

 

 

 

 

 

In violation of 18 U.S.C. § 2252(a)(2).
I further state I am a Special Agent with the United States Department of
Homeland Security, Homeland Security Investigations (HSI), and that this complaint is

based on the following facts gathered through an investigation I have conducted, my

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training and experience, and information provided to me by law enforcement officials in
Canada.
INTRODUCTION

1. l have been employed as a Special Agent with the United States
Department of Homeland Security, Homeland Security Investigations (HSI), since
December 2008. l am a graduate of the Criminal Investigator Training Program and the
U.S. lmmigration and Customs Enforcement Special Agent Training Academy. As a
result of my employment with HSI, my duties include, but are not limited to, the
investigation and enforcement of Titles 8, 18, 19, 21 and 31 of the United States Code. I
am an “investigative or law enforcement officer of the United States” within the meaning
defined in 18 U.S.C. § 2510(7), in that I am an agent of the United States authorized by
law to conduct investigations of, and make arrests for, federal offenses.

2. I am currently assigned to the HSI Dallas, Texas Field Offlce, Child
Exploitation Group, where I investigate criminal violations relating to the sexual
exploitation of children, including illegal coercion and enticement, and the production,
distribution, receipt and possession of child pornography, in violation of 18 U.S.C. §§
2422, 2251, 2252 and 2252A. Based on my training and experience, I am aware that it is
a violation of 18 U.S.C. § 2252(a)(2) for an individual to use any means and facility of
interstate commerce to receive a depiction of a minor engaged in sexually explicit

activity.

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OVERVIEW OF INVESTIGATION

3. In October 2016, the Windsor Police Service (WPS) in Ontario, Canada,
was contacted by the mother of a 12 year-old female, hereinafter referred to as Minor
Victim 1 (MVl). The mother advised WPS investigators that in September 2016, MVl
had been forced to send sexually explicit images and videos to an unknown individual on
Kik‘. MVl ’s mother informed investigators that she observed a conversation between
MVl and this individual, during which the unknown subject threatened to post MVl ’s
sexually explicit images on social media if MVl did not send additional images. MVl ’s
mother specifically identified the video referenced on page one of this affidavit, and
advised that it was produced at a hotel room in Mexico during a family trip between
September 3, 2016 and September 13, 2016.

4. In November 2016, a WPS computer forensics examiner conducted a
consensual search of MVl ’s iPod, and located a Kik conversation with an individual
using Kik username “[redacted].e”, display name “GIRLS ONLY”. During this chat
conversation, the Kik user demanded to receive access to MVl ’s email account, and
threatened to expose “everything” online if she did not comply. The subject also sent
MVl a screenshot of several sexually explicit files of MVl, which appeared to be saved
to a mobile device, and included a message that stated “I’m about to make video and

upload it online and post the pic too”. The WPS examiner determined several of the files

 

1 Kik is an instant messaging smartphone application that allows users to communicate without sharing a
telephone number. Kik users can use the application to transmit messages, images, videos and other
content.

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sent by MVl to this unknown subject satisfied the Canadian Criminal Code’s definition
of child pomography.

5. In November 2016, WPS submitted a Canadian Production Order to Kik,
requesting the subscriber information and contents associated with Kik account
“[redacted].e.” In March 2017, WPS received the information from Kik relating to the
Kik account under investigation WPS Constable Liyu Guan reviewed the Kik records,
which included the following subscriber information:

Name: GIRLS ONLY
Email: hindi[redacted]@[redacted] .com
Registration Device: Samsung SM-N9OOT

6. Constable Guan reviewed the contents of the Kik account, and observed
sexually explicit images and videos of several minor females between the approximate
ages of 12 to 16 years old. Many of these files consisted of screenshots that depicted the
victims, as well as text communications that indicate the minors were coerced into
producing the illicit content by sextortionz. Constable Guan also observed log-in records
that indicated the profile was being accessed using an Internet Protocol (IP) address that
resolved to the Fort Worth, Texas area. Because the user of this suspect account
appeared to be located in the United States, WPS contacted the HSI attache' office in

Toronto, Canada for assistance with the investigation; and HSI Toronto subsequently

forwarded this information to the HSI Dallas Child Exploitation Group.

 

2 The term “sextortion” refers to a form of sexual exploitation and extortion that employs non-physical
forms of coercion, such as blackmail, to acquire sexual content (e.g., sexually explicit photographs and
videos), money or sexual favors from the victim.

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7. Beginning on or about September 5, 2017, I began reviewing the evidence
relating to this case. During a review of the contents of the Kik account under
investigation, 1 observed evidence that indicates the user of this account was utilizing the
account to sexually exploit several minors. Screenshots found within the contents of this
account indicated the user of the account coerced multiple female minors to produce
sexually explicit images and videos, by threatening to post their pictures online, or by
threatening to commit suicide if the minor did not comply.

8. On or about September 14, 2017, HSI served a subpoena on Kik for
subscriber information and recent log-in data relating to Kik account “[redacted].e.” On
or about September 15, 2017, Kik responded with the following subscriber information:

Name: GIRLS ONLY

Email: hindi[redacted]@[redacted].com
Registration Device: Verizon SM-G920V

IP Addresses: 76.186.70.35; 24.182.202.179;

9. On September 20, 2017, HSI served a subpoena on Charter
Communications for the subscriber information relating to the customers assigned IP
address 76.186.70.35at the time it was used to access the Kik account under
investigation On or about October 5, 2017 , Charter reported this IP address
76.186.70.35 was assigned to the following subscriber:

Subscriber Name: K. Hindi
Subscriber Address: [address redacted], Arlington, TX
Lease Dates: June 6, 2017 to September 22, 2017
Activation Dates: September 26, 2014 to present
10. Based in part on this information, on November 1, 2017, HSI executed a

federal search warrant at [address redacted], Arlington, Texas. After knocking and

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announcing their presence at the front door, agents were greeted by Yousef Hendi. While
other agents conducted the search of the residence, l conducted a post-Mz'randa interview
with Hendi. During this interview, Hendi claimed ownership of the Kik account under
investigation, as well as the email address associated with this account. Hendi advised
that he had communicated with various minors on Kik, and admitted to coercing some of
these minors to produce sexually explicit images and videos. Hendi reported that he
used his cellular phone and the Internet services at his residence and job to facilitate these
offenses.

11. During the interview, 1 showed Hendi an image of MVl that was located
within the contents of his Kik account. After viewing the photograph, Hendi advised that
he recalled communicating with MVl, and believed she looked about 14 or 15 years old.
Hendi was shown images of other minors found in his Kik account, and estimated these
individuals to be teenagers as young as 12 years old.

12. Based on my training and experience in child exploitation investigations, I
am aware that smartphone applications like Kik require use of the Intemet to transmit and
receive content. I am also aware that the Internet is a means and facility of interstate
and/or foreign commerce.

CONCLUSION
13. Based on the facts set forth in this affidavit, I respectfully submit there is

probable to believe that between on or about September 3, 2016 and September 13, 2016,

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Yousef Hendi knowingly used any means and facility of interstate commerce to

receive a depiction of a minor engaged in sexually explicit activity, in violation of 18

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Le¢é.ndé%]. Mitchell, Special Agent
Homeland Security Investigations

U.s.C.§ 2252(3)(2).

NL
Sworn to before me and subscribed in my presence this 21 day of November
2017, at Ba.m./@ in Fort Worth, Texas.

OM

JEFFREY . URETON
UNITE ATES MAGISTRATE JUDGE

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